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                                         REDACTED - PUBLIC VERSION
                                         (Filed February 5, 2024)
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       2.      Federal Rule of Civil Procedure 62(a) provides that execution on a judgment and

proceedings to enforce it are automatically stayed for 30 days after its entry. The stay of execution

on the Final Judgment pursuant to Federal Rule of Civil Procedure would have expired on

November 27, 2023.

       3.      Pursuant to the parties’ previous stipulations (e.g., D.I. 393), the Court previously

entered extensions staying execution of the judgment until at least January 29, 2024, including

because the parties were negotiating terms of a stipulation to stay execution of the final judgment

(D.I. 393);

       4.      On December 22, 2023, Sage filed a Motion to Approve a Bond and to Stay

Execution of the Final Judgment (“Motion for Bond And Stay of Execution”). D.I. 391. As set

forth in that motion, Sage secured a bond             . That motion is now fully briefed and pending

before the Court. See D.I. 391, 397, 398.

       5.      Though Sage’s motion for an extension is pending, out of an abundance of caution,

the parties have conferred and PureWick and Sage have agreed, subject to the approval of the

Court, to temporarily extend the stay of execution of the Final Judgment for at least another ninety

(90) days until at least April 29, 2024, or until the Court rules on Sage’s Motion for Bond and Stay

of Execution, whichever is later. Furthermore, PureWick has agreed that it will not in any event

take any action to enforce the Final Judgment until at least the latter of April 29, 2024, or until the

Court rules on Sage’s Motion for Bond And Stay of Execution.

       6.      A proposed order that tracks the parties’ previously stipulated extensions on this

issue is attached. As set forth therein, Sage respectfully requests that the stay of execution of the

Final Judgment pursuant to Fed. R. Civ. P. 62(a) be extended until at least the latter of Monday,

April 29, 2024, or until the Court rules on Sage’s Motion for Bond And Stay of Execution. Sage




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 27, 2024, a copy of the foregoing

document was served on the persons listed below in the manner indicated:

BY E-MAIL
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                       )
PUREWICK CORPORATION,                  )
                                       )
                Plaintiff/Counterclaim )
                Defendant,             )
                                       )
     v.                                ) C.A. No. 19-1508-MN
                                       )
SAGE PRODUCTS, LLC,                    )
                                       )
                Defendant/Counterclaim )
                Plaintiff.             )
                                       )

                        [PROPOSED] ORDER TO EXTEND STAY OF
                          ENFORCEMENT OF FINAL JUDGMENT

       WHEREAS, on October 27, 2023, the Court entered an amended Final Judgment (D.I. 381)

(“Final Judgment”) and Fed. R. Civ. P. 62(a) provides that execution on a judgment and

proceedings to enforce it are automatically stayed for 30 days after its entry;

       WHEREAS, on November 20, 2023, Defendant/Counterclaim Plaintiff Sage Products,

LLC (“Sage”) filed a notice of appeal to the United States Court of Appeals for the Federal Circuit

on the Court’s Final Judgment, within the time prescribed by Fed. R. App. P. 4. D.I. 385.

       WHEREAS, the stay of execution on the Final Judgment pursuant to Federal Rule of Civil

Procedure 62(a) would have expired on November 27, 2023, and the Court previously entered

extensions staying execution of the judgment until at least January 29, 2024, pursuant to

stipulations of the parties including because the parties were negotiating terms of a stipulation to

stay execution of the final judgment (e.g., D.I. 393);

       WHEREAS Sage has filed a motion to approve a supersedeas bond and stay execution of

the Final Judgment under Fed. R. Civ. P. 62(b) until the completion of Sage’s appeal, which is
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fully briefed and pending before the Court (D.I. 391, 397, 398), and as set forth in that motion

Sage secured a bond              ;

       WHEREAS, given the pending motion, PureWick and Sage have agreed, subject to the

approval of the Court, to temporarily extend the stay of execution of the Final Judgment for at least

another 90 days until at least April 29, 2024, or until the Court rules on Sage’s motion (D.I. 391),

whichever is later; and PureWick has agreed that it will not in any event take any action to enforce

the Final Judgment until at least the later of April 29, 2024 or until the Court rules on Sage’s

motion;

       WHEREAS Sage has filed a Stipulated and Unopposed Motion to Extend Stay of

Enforcement Of the Final Judgment Pending Ruling, and PureWick does not oppose the motion;

       NOW, THEREFORE, IT IS HEREBY ORDERED, for the reasons set forth in Sage’s

motion and for good cause shown, that:

       1.      The stay of execution of the Final Judgment pursuant to Federal Rule of Civil

Procedure 62(a) will be extended until at least the latter of ninety (90) days (Monday, April 29,

2024) or until the Court rules on Sage’s motion to approve a supersedeas bond and stay execution

of the final judgment under Fed. R. Civ. P. 62(b) (D.I. 391);

       2.      No execution may issue on the Final Judgment, no proceedings may be initiated to

enforce the Final Judgment, Sage shall not be obligated to post a supersedeas bond or other

security, and PureWick agrees to not take any action to enforce the Final Judgment at least until

the latter of April 29, 2024 or the Court’s ruling on Sage’s motion (D.I. 391).

       3.      Nothing in this Stipulation and Order shall preclude either party from seeking

further relief related to the Final Judgment.

SO ORDERED this _______ day of _________, 2024.




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                                      _________________________________________
                                      THE HONORABLE MARYELLEN NOREIKA
                                       UNITED STATES DISTRICT JUDGE




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